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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 76-6086-CIV-MIDDLEBROOKS

  OLLIE CARRUTHERS, et al.,                               )
                                                          )
         Plaintiffs,                                      )
                                                          )
  v.                                                      )
                                                          )
  GREGORY TONY, as Sheriff of                             )
  Broward County, Florida,                                )
                                                          )
         Defendant.                                       )
                                                          )

                              JOINT MOTION TO APPROVE
                       STIPULATION REGARDING ATTORNEYS’ FEES

         On October 31, 2022, pursuant to Local Rule 7.3, Plaintiffs’ counsel served upon Defendant

  its draft Motion for Attorneys’ Fees seeking an award of fees and non-taxable costs in this case

  totaling $274,124.75 that have not previously been compromised through October 11, 2022.

  Following negotiation of counsel, and in the interest of resolving this matter without any further

  litigation, the parties submit this stipulation for consideration and approval by the Court which, if

  adopted by the Court, wholly resolves Plaintiffs’ demand for fees and non-taxable costs through

  October 11, 2022.

         IT IS STIPULATED AND AGREED between Plaintiffs and Defendant that:

         1.      Plaintiffs agree to accept a total of $225,000 (hereinafter “Settlement Amount”) from

  Defendant in full and complete satisfaction of all claims against Defendant for attorneys’ fees and

  costs at issue in this case through October 11, 2022.

         2.      Defendant shall pay the Settlement Amount within thirty (30) days following this

  Court’s order approving the stipulation.
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         3.       In consideration of the Settlement Amount received by the Plaintiffs or on behalf of

  the Plaintiffs, the Plaintiffs, their attorneys, agents, and employees hereby agree not to sue the

  Defendant, or otherwise make any further demand from Defendant with respect attorney’s fees or

  costs incurred by them in this case through October 11, 2022, including any interest or other

  amounts in connection therewith.

         4.       If Defendant then fails to pay the designated amounts set forth above by the specified

  date, Plaintiffs shall be entitled to interest against Defendant beginning on the first date of non-

  payment in accordance with Florida law.

         5.       The parties respectfully ask the Court to approve and enter this Stipulation as an Order

  of the Court.

         DATED this 30th day of November, 2022.

                                                      By:     /s/ Terrence Lynch
                                                            Terrence Lynch, Esq.
                                                            General Counsel for
                                                            Broward Sheriff Office
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                                                            Attorney for Sheriff Tony


                                                      By: Eric Balaban (signed with permission)
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                                                         National Prison Project of the ACLU
                                                         Foundation
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                                                       Attorneys for Plaintiff Class

                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document and proposed Order

  were served by CM/ECF on 30th day of November, 2022 on all counsel or parties of record on the

  Service List below.

                                                        /s/ Terrence Lynch
                                                       Terrence Lynch, Esq.
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                                          Service List


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  Court Appointed Special Master
